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IN THE UNITED S'I`ATES DISTRICT COURT 05 AUB _3 AH H_ 29
FOR THE WESTERN DISTRICT OF TENNESSEE '

 

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THE CLARK coNsTRUCTIoN GRoUP, INc. )
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Plaintifr, )
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v. ) No. 01-2478 Dv

)
EAGLE AMALGAMATED sERvICE, INC.; )
CAPiToL INI)EMNITY coRPORATION; )
INvEsTORs INSURANCE CoMPANY 0F )

AMERICA; FIRST SPECIALTY INSURANCE; )
LEXINGTON INSURANCE COMPANY; and )
RLI INSURANCE COMPANY, )

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Defeodants. )
)

 

ORDER GRANTING DEFENDANT INVESTORS INSURANCE COMPANY OF
AMERICA’S MOTION TO CLARIFY, AMEND, OR RECONSIDER THE COURT’S
ORDER GRANTING PLAINTIFF’S MOTION FOR PARTIAL SUMMARY
JUDGMENT

 

This matter is before the Court on the motion ofDefendant Investors Insurance Company
of America’s (“lnvestors” or “Defendant”) motion (dkt. # 234) to clarify, amend, or reconsider
the Court’s Apri126, 2005 Order (“April 26, 2005 Order”) Granting Plaintiff Clark Construction
Group, Incorporated’s (“Plaintiff”) motion for partial summary judgment as to Investors’ duty to
defend. For the reasons stated herein, Defendant’s motion is GRANTED.

A motion to alter or amend judgment pursuant to Fed. R. Civ. P. 59(e) may be made for
one of three reasons:

1) An intervening change of controlling law;

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with Rule 58 and/or ?9(3) FHCP on

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2) Evidence not previously available has become available; or

3) lt is necessary to correct a clear error of law or prevent manifest injustice
Fed. R. Civ. P. 59(e); Helton v. ACS Group and J&S Cafeteri§ of Pigeon Forge, lnc., 964
F.Supp. 1175 (E.D. Tenn. 1997). Rule 59 is not intended to be used to “relitigate issues
previously considered” or to “submit evidence which in the exercise of reasonable diligence,
could have been submitted before.” I_d_. at 1182. Thus, there are limited circumstances in which
a court may grant a motion to alter or amend a judgment

Defendant asserts that in order to correct a clear error of law, the Court should amend its
April 26, 2005 Order. Defendant maintains that although Plaintiff had the right to pursue
settlement negotiations with Engineered Demolition, Inc. (“Engineered”) and its insurer, First
Specialty, pursuant to Plaintiff’s policy with Defendant, Plaintiff did not have a right to finalize
the settlement without notifying Defendant of its intention to do so. Plaintiff argues that
Defendant breached its duty to defend and was thus precluded from raising a defense based on
the cooperation clause of the policy.

In the April 26, 2005 Order, the Court held that “to preclude Plaintiff from reaching a
settlement with one insurer because it Would violate the cooperation clause of the policy with
another insurer who is denying any responsibility Would place an onerous burden on Plaintiff.”
However, Defendant contends that it is not suggesting that settlement negotiations should not
have taken place or that Plaintiff was prohibited from settling with First Specialty. Because First
Specialty is the insurer for the tortfeasor, Defendant argues that Plaintiff should not have released

First Specialty without first giving the Defendant notice of its intention to do so. Defendant

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asserts that making a settlement agreement With First Specialty and releasing it without first
providing notice to Defendant violates the terms of the policy. ln addition to the cooperation
clause, the policy specifies that if Plaintiff is entitled to recover payments made by Investors,
those lights are transferred to Defendant. Under the policy, Plaintiff has an obligation to do
nothing that impairs Defendant in its effort to collect those recoverable payments

Plaintiff argues that Defendant cannot rely on the cooperation clause of the policy because
it breached by refusing to defend Plaintiff in the pending lawsuit with the City of Memphis.
Furthermore, Plaintiff contends that Defendant was given the opportunity to participate in the
settlement negotiations and chose not to participate This is a fact that is emphatically disputed
by Defendant, who asserts that its representatives attended negotiations until they were sent away.

The Court finds that there are a number of questions of material fact that must be
answered For example, it must be determined whether Defendant was given the opportunity to
participate in the negotiations between Plaintiff and First Specialty and whether Defendant was
prejudiced by the settlement that resulted from those negotiations Moreover, it must be
determined whether Plaintiff adequately demanded that Investors defend it in the lawsuit with the
City of Memphis and whether or not Defendant wrongfully refused that demand and, thus,
breached its duties under the policy. Because these are questions for the factfinder, the Court
holds that in order to correct a clear error of law and to prevent manifest inj ustice, the Court must

now reconsider its Apri126, 2005 Order.

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Accordingly, the Court GRANTS Defendant’s motion for reconsideration and denies

Plaintiff’s motion for partial summary judgment as to Defendant lnvestor’s duty to defend

Plaintiff against the City’s counterclaim.

IT rs so 0RDERED this 23 day or August, 2005.

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 257 in
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